                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                   :   CIVIL ACTION NO. 1:18-CV-1556
                                            :
                    Plaintiff               :   (Chief Judge Conner)
                                            :
             v.                             :
                                            :
JEFFREY E. STRAWSER,                        :
                                            :
                    Defendant               :

                                       ORDER

      AND NOW, this 18th day of July, 2019, upon consideration of the motion

(Doc. 17) for disbursement of funds and Schedule of Distribution attached thereto,

as well as prior orders of this court granting plaintiff’s motion for default judgment,

providing for sale of the property located at 214 Ginger Lane f/k/a 125 Ginger Lane,

Mifflintown, PA 17059 (the “Property”), and approving and confirming the United

States Marshal’s sale of the Property, it is hereby ORDERED that the Schedule of

Distribution is APPROVED and shall be entered on the docket by the Clerk, and

the United States Marshal shall distribute the proceeds of the sale of the Property

in accordance with the Schedule of Distribution.



                                            /S/ CHRISTOPHER C. CONNER
                                            Christopher C. Conner, Chief Judge
                                            United States District Court
                                            Middle District of Pennsylvania
